                       Case 1:21-cr-00079-BAH Document 1 Filed 01/12/21 Page 1 of 1
AO 91 (Rev. 11/1 I) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                      District of Columbia

                  United States of America
                                V.
                   KEVIN JAMES LYONS                                    Case No.




                           Defendant( s)


                                              CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief
On or about the date(s) of                 January 6, 2021              in the county of    ----------                in the
                        District of        Columbia
                                         --------            , the defendant(s) violated:

             Code Section                                                  Offense Description
18 U.S.C. § 1752(a)(1)                       Knowingly Entering or Remaining in any Restricted Building or Grounds
                                             Without Lawful Authority

40 U.S.C. § 5104(e)(2)(C) and (D)            Violent Entry and Disorderly Conduct on Capitol Grounds




          This criminal complaint is based on these facts:
See attached statement of facts.




          0 Continued on the attached sheet


                                                                                            Complainant's signature

                                                                                 JARED T. HORAN, Special Agent, FBI
                                                                                             Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
Telephone (specify reliable electronic means).                                                            2021.01.12 17:28:35
Date:             01/12/2021                                                                              -05'00'
                                                                                               Judge's signature

City and state:                      WASHINGTON, D.C.                        ZIA M. FARUQUI, U.S. Magistrate Judge
                                                                                             Printed name and title
